         Case 24-90213 Document 2037 Filed in TXSB on 08/19/24 Page 1 of 26




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

In re                                                       Chapter 11

STEWARD HEALTH CARE SYSTEM, LLC,                            Case No. 24-90213
et al.,1
                                                            (Jointly Administered)
                 Debtors.
                                                            Re: Docket No. 1991



           MEDICAL PROPERTIES TRUST, INC.’S (I) OBJECTION TO NOTICE
        OF DESIGNATION OF STALKING HORSE BIDDER FOR CERTAIN OF THE
        DEBTORS’ FLORIDA HOSPITALS AND (II) EMERGENCY CROSS-MOTION
             FOR ENTRY OF AN ORDER COMPELLING THE DEBTORS TO
         COMPLY WITH COURT-APPROVED GLOBAL BIDDING PROCEDURES

        Emergency relief has been requested. Relief is requested no later than the time the
        Court sets a hearing on the Notice of Designation of Stalking Horse Bidder for
        Certain of the Debtors’ Florida Hospitals (Dkt. No. 1991).
        If you object to the relief requested or you believe that emergency consideration is
        not warranted, you must appear at the hearing if one is set, or file a written
        response prior to the date that relief is requested in the preceding paragraph.
        Otherwise, the Court may treat the pleading as unopposed and grant the relief
        requested.
        A hearing will be conducted on this matter at a date and time to be determined in
        Courtroom 404, 4th Floor, 515 Rusk Street, Houston, TX 77002.
        You may participate in the hearing either in person or by an audio and video
        connection.
        Audio communication will be by use of the Court’s dial-in facility. You may access
        the facility at 832-917-1510. Once connected, you will be asked to enter the
        conference room number. Judge Lopez’s conference room number is 590153.
        Video communication will be by use of the GoToMeeting platform. Connect via
        the free GoToMeeting application or click the link on Judge Lopez’s home page.
        The meeting code is “JudgeLopez”. Click the settings icon in the upper right
        corner and enter your name under the personal information setting.



    1
         A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://restructuring.ra.kroll.com/Steward. The Debtors’ service address for these
chapter 11 cases is 1900 N. Pearl Street, Suite 2400, Dallas, Texas 75201.


4888-3473-9161
       Case 24-90213 Document 2037 Filed in TXSB on 08/19/24 Page 2 of 26




      Hearing appearances must be made electronically in advance of both electronic
      and in-person hearings. To make your appearance, click the “Electronic
      Appearance” link on Judge Lopez’s home page. Select the case name, complete
      the required fields and click “Submit” to complete your appearance.




4888-3473-9161                             2
          Case 24-90213 Document 2037 Filed in TXSB on 08/19/24 Page 3 of 26




                                                     TABLE OF CONTENTS

                                                                                                                                            Page

Emergency Consideration ............................................................................................................... 1
Introduction ..................................................................................................................................... 1
Factual Background ........................................................................................................................ 5
           A.         MPT’s prepetition business relationship with and support for Steward ................. 5
           B.         MPT’s support for Steward during these chapter 11 Cases .................................... 6
           C.         The Global Bidding Procedures for the sale of the Debtors’ assets ....................... 7
           D.         The Proposed Stalking Horse Bid for the Florida Hospitals................................... 9
           E.         The FILO DIP Amendment .................................................................................. 11
Argument .................................................................................................................................... 133
I.         The Proposed Stalking Horse Bid fails to comply with the Global Bidding
           Procedures. ...................................................................................................................... 133
II.        The Bid Protections should not be approved because the proposed transaction
           would vitiate MPT’s property rights. ................................................................................ 15
III.       Cross-Motion: The Court should enforce the Global Bidding Procedures. ..................... 17
Conclusion .................................................................................................................................... 17




                                                                         i
4888-3473-9161
         Case 24-90213 Document 2037 Filed in TXSB on 08/19/24 Page 4 of 26




                                                TABLE OF AUTHORITIES

                                                                                                                                   Page(s)

Cases

In re Envision Healthcare Corp.,
    655 B.R. 701 (Bankr. S.D. Tex. 2023) ....................................................................................17

In re Moore,
    608 F.3d 253 (5th Cir. 2010) ...................................................................................................15

In re Palm Springs II, L.L.C.,
    65 F.4th 752 (5th Cir. 2023) ....................................................................................................16

In re TMT Procurement Corp.,
    764 F.3d 512 (5th Cir. 2014) .............................................................................................15, 16

Pearlman v. Reliance Ins. Co.,
   371 U.S. 132 (1962) .................................................................................................................15

Phillips v. Wash. Legal Found.,
   524 U.S. 156 (1998) .............................................................................................................2 n.4

Statutes and Rules

11 U.S.C. § 363(m) ........................................................................................................................16

11 U.S.C. § 365(a) .........................................................................................................................12

28 U.S.C. § 157(b)(2) ....................................................................................................................21

28 U.S.C. § 1334 ............................................................................................................................21

Local Rule 9013-1............................................................................................................................1

Local Rule 9013-1(d) .....................................................................................................................17

Local Rule 9013-1(i) ......................................................................................................................19




4888-3473-9161                                                        ii
        Case 24-90213 Document 2037 Filed in TXSB on 08/19/24 Page 5 of 26




        Medical Properties Trust, Inc. and certain affiliates (collectively, “MPT”) hereby file this

Objection to Notice of Designation of Stalking Horse Bidder for Certain of the Debtors’ Florida

Hospitals (Dkt. No. 1991) and Emergency Cross-Motion for Entry of an Order Compelling the

Debtors to Comply With Court-Approved Global Bidding Procedures (the “Objection” and the

“Cross-Motion”), and in support thereof, respectfully submit the following:

                                        Emergency Consideration

        In accordance with Bankruptcy Local Rule 9013-1, MPT requests consideration of the

Cross-Motion no later than the same time the Court considers the Proposed Stalking Horse

Order.2 As explained below, MPT has suffered and will continue to suffer immediate harm as a

result of the Debtors’ deviations from the Global Bidding Procedures,3 and the Cross-Motion is

inextricably linked to the Objection. MPT submits that emergency consideration is therefore

necessary and appropriate.

                                                 Introduction

        1.       This Objection and Cross-Motion are necessary because the Debtors, without

Court approval, stopped complying with the Court-ordered Global Bidding Procedures. In

particular, despite the specific requirement in the Global Bidding Procedures that qualified bids

must include separate and independent terms for treatment of MPT’s real estate, the Debtors

have caused bidders — including Orlando Health in connection with the Space Coast Hospitals

— to submit “enterprise value” bids for hospitals, namely bids that do not distinguish Steward’s



    2
      Capitalized terms not otherwise defined have the same meanings as in the Notice of Designation of Stalking
Horse Bidder for Certain of the Debtors’ Florida Hospitals, Dkt. No. 1991.
    3
      “Global Bidding Procedures” has the meaning ascribed to such term in the Order (I) Approving (A) Global
Bidding Procedures for Sales of the Debtors’ Assets, (B) Form and Manner of Notice of Sales, Auctions, and Sale
Hearings, and (C) Assumption and Assignment Procedures and Form and Manner of Notice of Assumption and
Assignment; (II) Authorizing Designation of Stalking Horse Bidders; (III) Scheduling Auctions and Sale Hearings;
and (IV) Granting Related Relief, Dkt. No. 626 (the “Global Bidding Procedures Order”).


4888-3473-9161
        Case 24-90213 Document 2037 Filed in TXSB on 08/19/24 Page 6 of 26




property (hospital operations) from MPT’s property (real estate). As a result, although MPT is

ready and willing to engage with Orlando Health regarding a real estate transaction, Orlando

Health is not currently a Qualified Bidder and has not made an actionable proposal to MPT.

         2.       Beyond the departure from the Global Bidding Procedures, the Bid Protections

must be denied on an independent ground: the protections have been offered in connection with

a proposed transaction structure that is not capable of being approved by this Court. The Debtors

have proposed to sell their property (hospital operations) for an unspecified price that will be

calculated by subtracting the price paid for MPT’s real estate from a total purchase price. But, in

an Orwellian twist, the real estate price is not what the real estate owner (MPT) agrees to accept;

instead, absent agreement or a court order, the real estate price will be set by the Buyer, provided

that it does not exceed a maximum price agreed to by the Debtors (who, under the proposed

APA, stand to benefit dollar-for-dollar if the real estate is sold for less). The Buyer’s

“allocation” will then, according to a bracketed sentence in the proposed sale order, become

“final and binding” on MPT. See Proposed Sale Order ¶ 48; see also Designation Notice at 2

(“Allocation Dispute”).

         3.       The Debtors’ proposal, if allowed to go forward, would be an abuse of the

bankruptcy process and an affront to MPT’s property rights. To state the obvious, neither the

Bankruptcy Code nor the U.S. Constitution allows a debtor-tenant (Steward) and a purchaser of

the tenant’s operations (Orlando Health) to dictate the terms on which the debtor’s landlord

(MPT) will sell its private property.4 The Court should not approve Bid Protections to “protect”




    4
      See, e.g., Phillips v. Wash. Legal Found., 524 U.S. 156, 167 (1998) (it is a “fundamental maxim of property
law that the owner of a property interest may dispose of all or part of that interest as he sees fit”); U.S. Const.
amend. V.


4888-3473-9161                                           2
       Case 24-90213 Document 2037 Filed in TXSB on 08/19/24 Page 7 of 26




a transaction that, as proposed, would apparently force MPT to sell its private property on terms

chosen by Steward and Orlando Health.

        4.       The Debtors can be expected to lash out at MPT and try to blame MPT for the

poor progress of these cases and the delays in the sale process. That narrative is not just

irrelevant as a legal matter — it does not change the fact that the Debtors are tenants whose

rights are determined by Section 365 of the Bankruptcy Code — but it is also fundamentally

inaccurate. In reality, it is the Debtors who have prevented sales from going forward, not to

protect public health or the like but to attempt to force MPT to transfer real-estate value to the

Debtors and their lenders as the price of allowing sales to go forward that are necessary to avoid

closures.

        5.       The Debtors’ new approach, as reflected by the Stalking Horse Bid in Florida,

reflects a total repudiation of the bargain struck at the outset of these cases. In connection with

the Debtors’ filing, MPT agreed to provide substantial support to the Debtors to stabilize their

operations, including junior postpetition financing and a nearly 50% rent deferral on Master

Lease I. MPT also agreed that, rather than simply standing on its rights as a fee owner of real

estate — and requiring the Debtors to assume or reject the master leases in toto — MPT would

help fund a process in which the Debtors’ separate operations in each hospital would be

marketed side-by-side with MPT’s real estate interests.

        6.       The Debtors, in turn, agreed to initiate and conduct a sale process for their

operations that would be coordinated with MPT’s sale process for its own property, namely the

hospital real estate. Under the Global Bidding Procedures (Dkt. No. 626), the Debtors would try

to sell their operations in each hospital to a new operator, while MPT would simultaneously try

to dispose of its real property, either through a sale or entry into a new lease.




4888-3473-9161                                     3
       Case 24-90213 Document 2037 Filed in TXSB on 08/19/24 Page 8 of 26




        7.       Consistent with that understanding, in the section titled “Treatment of MPT Real

Property,” the Global Bidding Procedures expressly required that any bids for hospitals leased

from MPT include a specific “treatment” of MPT’s real estate and “proposed terms of an

agreement with MPT Lessor.” Global Bidding Procedures at 13 (emphasis added). The Global

Bidding Procedures also prevented the Debtors from waiving that requirement: “[W]ithout the

consent of MPT (not to be unreasonably withheld, conditioned, or delayed) the Debtors may not

waive the requirements of a Bid under the heading ‘Treatment of MPT Real Property. . . .’” See

id. at 19 (emphasis added). Both sides retained their absolute rights to agree, or not agree, to

terms on which they would sell their respective property. Id.

        8.       The Stalking Horse Bid does not comply with the Global Bidding Procedures,

because it does not propose specific terms for an agreement with MPT. That is the Debtors’

fault, not Orlando Health’s. The Debtors, after realizing that the sale process they agreed to

conduct would necessarily generate much higher bids for MPT’s real estate than for the Debtors’

operations — because MPT’s bespoke hospital real estate can only be replaced at incredibly high

cost, whereas the Debtors’ operations are generally unprofitable — refused to go forward with

any sales. The Debtors instead conveyed to bidders, in Florida and elsewhere, that — instead of

bidding for MPT’s real estate separate from the Debtors’ hospital operations, as previously

agreed — they had to submit “enterprise value bids,” namely single bids for both the Debtors’

hospital operations and MPT’s real estate. That critical change, made unilaterally by the Debtors

without Court approval, was a straightforward departure from the Global Bidding Procedures.

        9.       The Debtors’ non-compliance with the Global Bidding Procedures is part of a

broader seismic shift in these cases. On August 7, again without Court approval or even a notice

on the docket, the Debtors signed a case-defining agreement with the FILO Lenders. The




4888-3473-9161                                   4
         Case 24-90213 Document 2037 Filed in TXSB on 08/19/24 Page 9 of 26




agreement — styled as a “Limited Waiver” — established new case milestones that, among other

things, required the Debtors to: (a) solicit “enterprise value bids” for properties, despite the

terms of the Global Bidding Procedures; (b) stop paying rent under Master Lease I, despite

Section 365(d)(3) of the Bankruptcy Code; (c) bring a lawsuit against MPT relating to

“allocation” of sale proceeds; and (d) move to reject Master Lease I, even though doing so will

deprive the Debtors of the right to continue occupying hospitals. The Debtors have now

complied with those dictates, filing a rejection motion [Dkt. No. 2026] and an adversary

proceeding [Dkt. No. 2031] while also halting rent payments and requiring bidders not to bid for

MPT’s real estate separately from operations.

         10.     The FILO DIP Amendment has set the Debtors on a course to open-ended

litigation, in a context where litigation will confuse bidders, lead to uncontrollable costs,5 and

increase the risk of closures and disruptions. MPT will respond to the Debtors’ litigation barrage

when appropriate. For now, MPT asks the Court to reject the proposed Bid Protections relating

to the sale of the Space Coast Hospitals, on the basis that the Debtors have not complied with the

Global Bidding Procedures and have proposed a transaction that is inconsistent with MPT’s

ownership rights and thus not capable of being executed. MPT also requests that the Court

enforce the Global Bidding Procedures and, in particular, prevent the Debtors from continuing to

solicit and require bids that do not conform with those procedures as they apply to MPT.


                                             Factual Background

A.       MPT’s prepetition business relationship with and support for Steward




     5
      The Debtors are spending tens of millions per month on professional fees. They apparently believe they can
use MPT’s real property to generate revenues, pay those professional fees out of those revenues, and yet decline to
pay rent (which is a fraction of the professional fees). MPT obviously does not agree.


4888-3473-9161                                           5
         Case 24-90213 Document 2037 Filed in TXSB on 08/19/24 Page 10 of 26




          11.     MPT is a publicly traded real estate investment trust that is one of the largest

owners of healthcare real estate worldwide. MPT has a portfolio consisting of over 400

healthcare facilities that are leased to entities that conduct healthcare operations on the leased

real estate. As a real estate investment trust, MPT does not operate healthcare facilities.

Instead, MPT affiliates own the relevant facilities and lease the facilities to operators.

          12.     MPT has two Master Leases with Steward — one for eight properties in

Massachusetts, and another for 23 hospitals across the country. Master Lease I covers facilities

operated by the Debtors in Florida, Texas, Arkansas, Louisiana, Arizona, Ohio, and

Pennsylvania.6 Master Lease II covers facilities operated by the Debtors in Massachusetts.

          13.     In addition to the Master Leases, MPT has made several loans to Steward: in the

months prior to Steward’s bankruptcy filing, to help ensure that Steward had adequate liquidity,

MPT injected approximately $141 million into Steward and agreed to defer approximately $163

million in payments under Master Lease I. See First Day Decl. (Dkt. No. 38) ¶¶ 33, 38–42.

B.        MPT’s support for Steward during these chapter 11 Cases

          14.     MPT’s prepetition support of Steward continued as the Debtors entered these

cases. On the first day of these cases, MPT made a $75 million DIP loan to the Debtors on a

junior basis when no one else would. MPT DIP Motion (Dkt. No. 46) ¶ 39. The funds were

badly needed: When the Cases commenced, the Debtors had only $12.8 million in cash on hand.

Id. ¶ 27. In addition, on the larger of its two master leases, Master Lease I, MPT agreed to

accept rent equal to approximately one-half of the lease rate and defer the rest, saving the estates

approximately $10 million per month in liquidity.




     6
         One property subject to Master Lease I is located in Massachusetts; however, that property is not currently
operating, following a catastrophic storm event.


4888-3473-9161                                           6
      Case 24-90213 Document 2037 Filed in TXSB on 08/19/24 Page 11 of 26




        15.      In connection with MPT’s junior DIP financing, the Debtors stipulated that “each

Master Lease is a valid, unexpired lease of nonresidential real property, enforceable in

accordance with its terms as a true, unitary, indivisible lease, subject to the provisions of section

365 of the Bankruptcy Code, and not subject to avoidance, recharacterization, subordination,

severance (absent the consent of the applicable MPT Lessor), or other challenge pursuant to the

Bankruptcy Code or applicable non-bankruptcy law.” MPT DIP Order (Dkt. 625) ¶ G.22. That

stipulation is “binding” on the Debtors and all other parties unless the Creditors’ Committee files

a challenge and obtains a final and non-appealable order sustaining that challenge. Id. ¶ 18.

        16.      In addition, in the MPT Credit Agreement, the Debtors agreed, among other

things, (i) to make all postpetition payments due under Master Lease II, and (ii) to pay MPT an

aggregate amount equal to $10 million per month for postpetition rent plus Impositions (as

defined in Master Lease I) due under Master Lease I. See MPT DIP Credit Agreement § 5.01(o).

The Debtors also agreed to cooperate in marketing efforts for the hospitals, and agreed that

“neither the MPT Lender nor the MPT Lessors shall have any obligation to consent to any sale

transaction or specific treatment of any lease except as determined in its sole and absolute

discretion.” DIP Credit Agreement § 5.19(a).

C.      The Global Bidding Procedures for the sale of the Debtors’ assets

        17.      Shortly after the cases began, the Debtors filed a motion seeking approval of

bidding procedures to sell their assets. See Dkt. 281. After negotiations among numerous parties

in interest, including MPT, the Debtors’ secured lenders, and the Creditors’ Committee, the

Debtors submitted updated orders including significant revisions, ultimately in a form acceptable

to those parties. See Dkts. 559, 620. On June 3, 2024, the Court entered an order approving the

Global Bidding Procedures and granting related relief. See Dkt. 626.




4888-3473-9161                                    7
      Case 24-90213 Document 2037 Filed in TXSB on 08/19/24 Page 12 of 26




        18.      In their motion to approve the Global Bidding Procedures, the Debtors stated that,

“[t]o avoid any ambiguity, the Debtors intend to solicit Bids for the Debtors’ operations

separately from real estate.” Dkt. No. 281 ¶ 32 (emphasis added). The notice accompanying the

Global Bidding Procedures likewise provides that the “Assets” for sale are the Debtors’

Stewardship business, the “Debtors’ hospital operations,” and “certain other assets of the

Debtors.” Dkt. 626 Ex. 2 at 2. By their express terms, therefore, the Global Bidding Procedures

are intended to govern the sale of the Debtors’ own assets.

        19.      The Global Bidding Procedures contain a section titled “Treatment of MPT Real

Property.” That section requires that any Qualified Bid for the operations of hospitals subject to

a lease with MPT must include the “proposed treatment” of MPT’s real estate as well as

“proposed terms of an agreement with MPT Lessor.” Global Bidding Procedures at 13

(emphasis added).

        20.      The Global Bidding Procedures also authorize MPT to “discuss and negotiate

directly with any Potential Bidder” regarding real estate treatment, subject to certain reporting

requirements. Id. at 11. And they expressly state that, “without the consent of MPT (not to be

unreasonably withheld, conditioned, or delayed) the Debtors may not waive the requirements of

a Bid under the heading ‘Treatment of MPT Real Property.’” Id. at 19. The Debtors, therefore,

were not permitted to waive or amend the requirement that bidders submit specific “proposed

terms” to MPT for a new lease or real estate sale.

        21.      The Global Bidding Procedures Order likewise provides that, “absent further

Court order, the Debtors may not eliminate the consent, consultation, or notice rights of any

party” and that, “[n]otwithstanding anything herein, nothing in the Global Bidding Procedures,

this Order, and/or the determination of any Bid as a Qualified Bid, shall waive, alter, or modify




4888-3473-9161                                    8
      Case 24-90213 Document 2037 Filed in TXSB on 08/19/24 Page 13 of 26




any rights of the MPT Lessor to approve or enter into any agreement with respect to real

property owned by the MPT Lessor.” Id. ¶ 41.

        22.      The Global Bidding Procedures yielded viable bids for various hospitals, and the

Debtors declared several bidders to be the successful bidders for their hospital operations. In

parallel, the relevant buyers were able to strike deals with MPT, either to purchase the real estate

outright or to enter into new leases with MPT. Nonetheless, as of this filing, the Debtors have

not obtained approval for any hospital sales, and they have repeatedly delayed the sale processes.

As the Debtors acknowledged in court on July 31, they are “holding” up the sales, despite the

risks involved, because they want more money than the bidders offered for hospital operations.

July 31, 2024 Hr’g Tr. at 11. The FILO group likewise stated publicly that it “is never going to

accept” the bids from the sale process because they also want more money. Id. at 48.

        23.      Beyond the statements made in open court, the Debtors have taken various

unilateral actions that deviate from the Global Bidding Procedures. In particular, the Debtors

have directed all bidders, including at hospitals that were otherwise ready for sale, to submit to

the Debtors a single “total enterprise value” bid for operations and real estate combined, rather

than separate bids for separate property interests.

D.      The Proposed Stalking Horse Bid for the Florida Hospitals

        24.      Late on August 14, 2024, the Debtors filed a “Notice of Designation of Stalking

Horse Bidder for Certain of the Debtors’ Florida Hospitals.” Dkt. No. 1991 (the “Designation

Notice”). The Designation Notice states that objections to the Bid Protections offered by the

Debtors have to be filed by August 19, 2024.

        25.      The “Stalking Horse Bid” disclosed in the Designation Notice seeks to acquire the

Space Coast Hospitals for approximately $439 million in aggregate consideration — including

real estate and operations. Prior to the Debtors’ announcement, no particular terms were


4888-3473-9161                                    9
       Case 24-90213 Document 2037 Filed in TXSB on 08/19/24 Page 14 of 26




proposed to MPT with respect to the real estate, and no particular terms are included in the

Stalking Horse Bid. The Proposed Stalking Horse Order seeks a finding that the Stalking Horse

Bid is a “Qualified Bid” even though no specific terms for an agreement with MPT are included.

(Proposed Order ¶ 4).

         26.      Rather than propose terms for the treatment of MPT’s real property, as required

by the Global Bidding Procedures, the Bid proposes to create an “Allocation Dispute”

mechanism. The Notice, APA, and Proposed Sale Order are inconsistent with one another, but

the basic framework appears to be as follows:

         27.      First, at closing, the bidder will place the aggregate “enterprise value”

consideration into escrow and submit a “proposed allocation” (with a capped value attributable

to MPT’s real estate of $275 million, but no cap on what the Debtors can receive). APA

§ 1.8(b); Proposed Sale Order ¶ 48.

         28.      Second, the Debtors, MPT and the Buyer will be directed to “submit briefing to

the Court as soon as reasonably practicable to provide adequate time to allow the Court to rule

on the Allocation Issue.” Proposed Sale Order ¶ 48. The Order therefore appears to contemplate

a litigation resolution among the Debtors, the Buyer,7 and MPT regarding the amounts to be paid

for the Debtors’ operations and MPT’s real estate, even though MPT has never agreed to sell the

Space Coast hospitals (rather than leasing them), let alone at a price to be determined by a court

or a third party.




     7
       The Proposed Sale Order contemplates that Orlando Health will participate in the threatened litigation:
“Recognizing that the Buyer would not have entered into the APA or purchased the Purchased Assets from the
Debtors without the ability to ensure an appropriate allocation of Purchase Price between the Purchased Assets and
the Real Property, and subject to the terms and conditions of the APA, Buyer shall have standing to fully participate
in any motion practice, litigation, mediation, or other proceedings relating to the Allocation Issue.” Dkt. 1991 at
297, Proposed Sale Order ¶ 48; accord APA ¶ 9.4(iv).


4888-3473-9161                                           10
         Case 24-90213 Document 2037 Filed in TXSB on 08/19/24 Page 15 of 26




          29.    Third, the Proposed Sale Order states (in brackets) that “[Subject to and in

accordance with the terms and conditions of the APA, including Section 1.8 thereof, if, by the

date which is the earlier of (A) December 31, 2024, and (B) ninety (90) days from the date of the

APA, the Debtors and MPT have not resolved the Allocation Issue in a manner that complies

with the Maximum Allocation Value (as defined in the APA) with respect to the Real Property,

then Buyer’s Proposed Allocation (as defined in the APA) shall be final and binding on Buyer,

the Debtors, and MPT.]” Proposed Sale Order ¶ 48. The order, accordingly, appears to

contemplate that — as long as the Buyer’s proposed price for MPT’s Real Property is less than

a capped amount approved by Steward — the Buyer’s selected price for MPT’s Real Property

becomes “final and binding” on MPT, with the result that MPT is supposed to divest its property

for a price to which it has not agreed.8

E.        The FILO DIP Amendment

          30.    On Tuesday, August 6, 2024, the Debtors sent MPT a draft of a “limited waiver”

under the FILO DIP financing (the “FILO DIP Amendment”). MPT promptly conveyed that it

does not consent to the FILO DIP Amendment and urged the Debtors not to enter it. MPT later

learned that the Debtors signed the FILO DIP Amendment over its objection and without Court

approval.




     8
      The APA and the proposed order are inconsistent on material points. While the order, as quoted, states in
brackets that the buyer’s allocation will be binding on MPT in the event of a dispute and funding into escrow,
Section 1.8(b) of the APA provides that any obligation to fund into escrow is itself dependent on “an agreement
between Sellers and MPT” that the “Buyer’s Proposed Allocation” will be “final and binding.” The APA,
accordingly, appears to provide a consent right that is overridden by the proposed order. The Notice, meanwhile, is
more consistent with the order than with the APA. See Notice at 2 (“Allocation Dispute”). Those inconsistencies,
and the lack of clarity more broadly as to what the Debtors are proposing, are an additional reason why the Debtors
should not be allowed to move forward with the proposed sale process on the current record.


4888-3473-9161                                          11
      Case 24-90213 Document 2037 Filed in TXSB on 08/19/24 Page 16 of 26




        31.      The FILO DIP Amendment, among other things, attaches an “Annex A” that

purports to set out new “Waiver No. 1 Funding Milestones.” Among the key case-determinative

“milestones” are:

        2. The Loan Parties shall file a pleading by August 8, 2024 [apparently
        extended], requesting that the Bankruptcy Court determine the allocation of
        Facilities enterprise value between the applicable Loan Parties’ bankruptcy
        estates, on the one hand, and MPT Parties, on the other hand. . . . .

        3. To the extent the Loan Parties do not execute an asset purchase agreement for
        the Ohio and Pennsylvania Facilities and the St. Joseph’s (Texas) Facility by
        August 16, 2024, the Loan Parties will seek authority to close those applicable
        Facilities. . . .

        6. The Loan Parties shall make no payment of rent under the Master Leases,
        unless the Bankruptcy Court orders otherwise. . . .

        8. The Loan Parties will file a motion with the Bankruptcy Court to reject Master
        Lease I by August 8, 2024 [apparently extended], and the hearing regarding such
        rejection motion shall conclude by August 30, 2024. . . .

        10. To the extent already not requested, the Loan Parties will request that bidders
        submit enterprise value bids (i.e., with real estate included in the valuation and
        transaction) for all Facilities, including enterprise value bids for all Facilities
        located in Arizona, Louisiana, and Massachusetts by August 12, 2024.

        32.      It is hard to imagine a more consequential modification to a DIP financing. In

one document, the Debtors agreed to close hospitals by a date certain absent sale agreements, to

stop paying rent for premises operated by the Debtors, and to set in motion a rejection process

that will deprive the Debtors of the right to occupy the hospitals subject to Master Lease I. Most

importantly for this Objection and Cross-Motion, the Debtors also agreed to stop complying with

the provisions of the Global Bidding Procedures requiring separate bids and negotiation

processes for operations (the Debtors’ property) and real estate (MPT’s property). The Debtors

apparently determined that they did not need Court approval for these hyper-material changes

because the agreement is framed as a “waiver” rather than a “modification” or an “amendment.”




4888-3473-9161                                   12
      Case 24-90213 Document 2037 Filed in TXSB on 08/19/24 Page 17 of 26




                                             Argument

I.      The Proposed Stalking Horse Bid fails to comply with the Global
        Bidding Procedures.

        33.      The Bankruptcy Code offers two options to a debtor-tenant that operates its

business under a lease of nonresidential real property: assume the lease or reject the lease. See

11 U.S.C. § 365(a). In these cases, however, the Debtors and MPT agreed to pursue an

alternative: The Debtors would attempt to sell or otherwise transition their ongoing hospital

operations, while MPT would attempt to reach agreements with the same buyers for the lease or

sale of the applicable real estate. MPT had no obligation to provide the Debtors with an option

other than assumption or rejection, but it did so to try to preserve value and avoid unnecessary

hospital closures.

        34.      The Global Bidding Procedures, as negotiated by the Debtors and MPT (and

approved by the Court), recognize that the sales at issue involve two separate property owners

with their own separate property interests. In their motion to approve the procedures, the

Debtors stated plainly that, “[t]o avoid any ambiguity, the Debtors intend to solicit Bids for the

Debtors’ operations separately from real estate.” Dkt. No. 281 ¶ 32. The Global Bidding

Procedures Order likewise makes clear that the procedures are intended to “govern the bids and

proceedings related to the sale of the Debtors’ businesses and assets.” Global Bidding

Procedures Order ¶ 13 (emphasis added). Paragraph 41 further recognizes that “nothing in the

Global Bidding Procedures, this Order, and/or the determination of any Bid as a Qualified Bid,

shall waive, alter, or modify any rights of the MPT Lessor to approve or enter into any

agreement with respect to real property owned by the MPT Lessor.” Id. ¶ 41.

        35.      The Global Bidding Procedures, accordingly, do not give the Debtors authority to

sell MPT’s property. To the contrary, the procedures make clear that MPT alone (as the fee



4888-3473-9161                                   13
      Case 24-90213 Document 2037 Filed in TXSB on 08/19/24 Page 18 of 26




owner) will negotiate any disposition of its real estate, confirming expressly that MPT will

“discuss and negotiate directly with any Potential Bidder regarding the treatment of any lease

pertaining to the real estate owned by MPT Lessors.” Global Bidding Procedures at 11.

        36.      The Global Bidding Procedures also expressly require anyone submitting a “Bid”

to propose a particular treatment for MPT’s real estate, rather than bidding on an “enterprise”

basis. Any bidder is required to submit specific “proposed terms of an agreement with MPT

Lessor,” and the Debtors are expressly barred from waiving that requirement without MPT’s

consent. See Global Bidding Procedures at 13 (“Treatment of MPT Real Property”); id. at 19

(MPT consent needed for modification).

        37.      The Stalking Horse Bid does not comply with those provisions of the Global

Bidding Procedures. The bid, rather than specifying the “terms of an agreement” with MPT, has

an aggregate value for real estate and operations (consistent with the Debtors’ recent instructions

to bidders). The treatment of MPT’s real estate is the opposite of an “agreement” on terms:

Rather than specifying terms, the document states that the Debtors and the Bidder will litigate

with MPT regarding the price of its real estate, and otherwise dictate that price, in the future,

without MPT’s agreement at all.

        38.      The Debtors have no authority to solicit or accept “enterprise bids” for MPT’s

real property, including on the basis of their “fiduciary duties.” As discussed, the Global

Bidding Procedures specifically state that “absent further Court order, the Debtors may not

eliminate the consent, consultation, or notice rights of any party thereunder,” including MPT’s

right to consent to any change to the requirement that bidders propose specific terms for the

purchase or lease of MPT’s real estate. Global Bidding Procedures ¶ 41 (emphasis added).

Likewise, the provision allowing the Debtors to modify the bidding rules based on their




4888-3473-9161                                   14
      Case 24-90213 Document 2037 Filed in TXSB on 08/19/24 Page 19 of 26




“business judgment” and exercise of “fiduciary duties” states plainly that, without MPT’s

consent, “the Debtors may not waive the requirements of a Bid under the heading ‘Treatment of

MPT Real Property. . . .’” See id. at 19 (emphasis added). Whatever the scope of any “fiduciary

out,” it certainly does not allow the Debtors to disregard provisions of the Global Bidding

Procedures that were designed to protect MPT and that were explicitly not subject to waiver in

the Debtors’ business judgment.

        39.      Proposed Bid Protections can only be approved if the Proposed Stalking Horse

Bid is a “Qualified Bid” under the Global Bidding Procedures. Here, the Proposed Stalking

Horse Bid is not a Qualified Bid because it does not comply with the Global Bidding Procedures,

and the Bid Protections accordingly cannot be approved.

II.     The Bid Protections should not be approved because the proposed
        transaction would vitiate MPT’s property rights.

        40.      Beyond the departure from the Global Bidding Procedures, the Bid Protections

should be denied on the basis that the transaction being “protected” is a non-starter from a legal

standpoint. As discussed above in detail, the Debtors have proposed that, absent a judicial

determination in an ill-defined proceeding (which is itself unauthorized under the Bankruptcy

Code), MPT will be forced to accept a price set by the Bidder, provided that it does not exceed a

maximum price agreed with the Debtors. See supra ¶ 28. That price will then become “final and

binding” on MPT. Proposed Sale Order ¶ 48 (language bracketed).

        41.      The Debtors’ proposed scheme has no legal support. The central design of the

Bankruptcy Code is that the trustee (or debtor in possession acting as a trustee) has the power to

administer or dispose of property of the estate, but only property of the estate, subject to very

narrow exceptions not applicable here. The Supreme Court confirmed that self-evident point

long ago: “The Bankruptcy Act simply does not authorize a trustee to distribute other people’s



4888-3473-9161                                   15
      Case 24-90213 Document 2037 Filed in TXSB on 08/19/24 Page 20 of 26




property among a bankrupt’s creditors.” Pearlman v. Reliance Ins. Co., 371 U.S. 132, 135–36

(1962); accord, e.g., In re TMT Procurement Corp., 764 F.3d 512, 525–26 & n.56 (5th Cir.

2014); In re Moore, 608 F.3d 253, 258 (5th Cir. 2010). There is no basis at all for a scheme

under which a non-debtor real estate owner can be compelled not just to sell its property, but to

accept whatever (capped) price that the buyer dictates.

        42.      The Debtors also propose a finding in the Stalking Horse Order that “[t]he Bid

Protections are the product of negotiations between the Debtors and the Stalking Horse Bidder

conducted in good faith and at arm’s length.” Proposed Stalking Horse Order ¶ G. That finding

should not be approved. There is no record evidence to support that finding, and there are

serious reasons to doubt that a “negotiation” between the Debtors and Orlando Health that

resulted in Orlando Health gaining the right to select the price at which it can obtain MPT’s

property was a “good faith” negotiation.

        43.      Moreover, the finding should not be approved because “good faith” has a

particular meaning in the context of bankruptcy sales. Under Fifth Circuit precedent interpreting

Section 363, “good faith” requires a purchaser to act “without notice of adverse claims” to the

property being sold. In re Palm Springs II, L.L.C., 65 F.4th 752, 759 (5th Cir. 2023) (internal

citation omitted). Bidders attempting to purchase property from a bankruptcy estate with notice

that someone else owns the property (or even notice of an ownership dispute) cannot obtain a

“good faith” finding under Section 363(m). Id. at 760; accord In re TMT Procurement Corp.,

764 F.3d at 522.

        44.      Here, the Debtors have stipulated that MPT, not the Debtors, owns the MPT Real

Estate. See MPT DIP Order ¶ G.22. As a result, a buyer that purports to take title to MPT’s real

property without MPT’s consent, or that purports to dictate the price at which MPT has to sell, is




4888-3473-9161                                   16
       Case 24-90213 Document 2037 Filed in TXSB on 08/19/24 Page 21 of 26




not buying property that is merely subject to an adverse claim of ownership; it is buying property

that the Debtors concededly do not own and which the owner has not agreed to sell. Thus, under

Fifth Circuit precedent, the protections available to a “good faith” purchaser cannot be made

available to such a buyer.



III.    Cross-Motion: The Court should enforce the Global Bidding Procedures.

        45.      The Bid Protections should not be approved for the reasons stated above. The

Debtors should instead be directed to comply with the Court-ordered Global Bidding Procedures,

including, in particular, the express requirement that every “Bid” must “indicate the proposed

treatment of such real property and proposed terms of an agreement with MPT Lessor.” Global

Bidding Procedures at 13.

        46.      The Bankruptcy Court has clear authority to enforce its own orders. E.g., In re

Envision Healthcare Corp., 655 B.R. 701, 708 (Bankr. S.D. Tex. 2023). The Global Bidding

Procedures Order is a final order of this Court, consented to by all parties. If the Debtors wish to

modify the governing procedures, the Debtors should make a motion for reconsideration under

an appropriate procedural rule, rather than unilaterally seeking to waive protections in the order

that are beyond the Debtors’ authority to waive. The Debtors, accordingly, should be directed to

comply with the Global Bidding Procedures Order until such time, if ever, that they validly

obtain relief from that order, and in particular obtain Court approval for any proposed

modifications to the Global Bidding Procedures that affect MPT’s consent and property rights.

                                            Conclusion

        47.      The Bid Protections should not be approved. The Debtors should be instead

directed to comply with the Court-ordered Global Bidding Procedures.




4888-3473-9161                                   17
      Case 24-90213 Document 2037 Filed in TXSB on 08/19/24 Page 22 of 26




                                              Notice

        48.      Notice of this Motion will be served upon any party entitled to notice pursuant to

Bankruptcy Rule 2002 and any other party entitled to notice pursuant to Local Rule 9013-1(d).

                                              Prayer

        MPT respectfully requests that the Court enter the proposed order (the “Order”),

substantially in the form attached hereto as Exhibit A and grant them such other and further

relief to which MPT may be justly entitled.

Dated: August 19, 2024
Houston, Texas

/s/ Paul E. Heath
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                                                     ATTORNEYS FOR MEDICAL
                                                     PROPERTIES TRUST, INC. AND
                                                     CERTAIN AFFILIATES




4888-3473-9161                                  18
      Case 24-90213 Document 2037 Filed in TXSB on 08/19/24 Page 23 of 26




                               CERTIFICATE OF ACCURACY

        I certify that the foregoing statements are true and accurate to the best of my knowledge.
This statement is being made in accordance with Bankruptcy Local Rule 9013-1(i).

                                                     /s/ Emil A. Kleinhaus


                             CERTIFICATE OF CONFERENCE

        I hereby certify that counsel to MPT has conferred and corresponded with counsel to the
Debtors, including in the context of the ongoing mediation, prior to filing the foregoing Objection
and Cross-Motion, but there has been no consensual resolution of the issues relating to the motion.
MPT and the Debtors, along with other parties, are engaged in mediation relating to these and
other issues that has not to date yielded an agreement.

                                                     /s/ Emil A. Kleinhaus


                                CERTIFICATE OF SERVICE

        I certify that on August 19, 2024, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                     /s/ Paul E. Heath




4888-3473-9161
      Case 24-90213 Document 2037 Filed in TXSB on 08/19/24 Page 24 of 26




                                   Exhibit A

                                Proposed Order




4888-3473-9161
        Case 24-90213 Document 2037 Filed in TXSB on 08/19/24 Page 25 of 26




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

In re                                                       Chapter 11

STEWARD HEALTH CARE SYSTEM, LLC,                            Case No. 24-90213
et al.,1
                                                            (Jointly Administered)
                 Debtors.
                                                            Re: Docket No. 1991



                        ORDER (I) SUSTAINING
                  MEDICAL PROPERTIES TRUST, INC.’S
                OBJECTION TO NOTICE OF DESIGNATION
           OF STALKING HORSE BIDDER FOR CERTAIN OF THE
      DEBTORS’ FLORIDA HOSPITALS AND (II) GRANTING EMERGENCY
    CROSS-MOTION FOR ENTRY OF AN ORDER COMPELLING THE DEBTORS
    TO COMPLY WITH COURT-APPROVED GLOBAL BIDDING PROCEDURES

         Upon Medical Properties Trust, Inc.’s Objection to Notice of Designation of Stalking

Horse Bidder for Certain of the Debtors’ Florida Hospitals and Emergency Cross-Motion for

Entry of an Order Compelling the Debtors to Comply with Court-Approved Global Bidding

Procedures (the “Objection” and the “Cross-Motion”)2 filed by Medical Properties Trust, Inc.

and certain affiliates, including those party to Master Lease I (collectively, “MPT”); and the Court

having jurisdiction over the matters raised in the Objection and Cross-Motion pursuant to 28

U.S.C. § 1334; and the Court having found that this is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2) and that the Court may enter a final order consistent with Article III of the United

States Constitution; and the Court having found that proper and adequate notice of the Objection



    1
         A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://restructuring.ra.kroll.com/Steward. The Debtors’ service address for these
chapter 11 cases is 1900 N. Pearl Street, Suite 2400, Dallas, Texas 75201.
    2
        Capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the
Objection and Cross-Motion.


4888-3473-9161
      Case 24-90213 Document 2037 Filed in TXSB on 08/19/24 Page 26 of 26




and Cross-Motion and hearing thereon has been given under the circumstances and that no other

or further notice is necessary; and the Court having found that good and sufficient cause exists for

sustaining the Objection and granting the relief requested in the Cross-Motion after having given

due deliberation to the Objection and Cross-Motion and all of the proceedings had before the Court

in connection therewith, it is HEREBY ORDERED THAT:

        1.        The Objection is SUSTAINED and the Cross-Motion is GRANTED.

        2.        The proposed Stalking Horse Bid for the Space Coast Hospitals does not comply

with the Global Bidding Procedures and is not a Qualified Bid.

        3.        The proposed Bid Protections relating to the sale of the Space Coast Hospitals are

denied without prejudice. The Stalking Horse Bidder may submit a revised bid that is a Qualified

Bid in compliance with the Global Bidding Procedures.

        4.        The Debtors shall not solicit or require, and may not consider, bids that include the

sale of real estate owned by MPT that are not in compliance with the Global Bidding Procedures,

including bids that contemplate a combined “enterprise value” purchase price for the Debtors’

hospital operations and MPT’s real estate, absent MPT’s prior written consent or further order of

the Court following notice and a hearing.

        5.        The terms and conditions of this Order are immediately effective and enforceable

upon its entry.

        6.        The Court retains exclusive jurisdiction to hear and determine all matters arising

from or related to the implementation, interpretation, or enforcement of this Order.

Dated: August __, 2024
Houston, Texas
                                             ___________________________________________
                                             THE HONORABLE CHRISTOPHER M. LOPEZ
                                                UNITED STATES BANKRUPTCY JUDGE



4888-3473-9161                                      2
